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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                     AUGUSTA DIVISION




UNITED STATES OF AMERICA

                                                     CRl 17-067


TIMOTHY LEONARD ELLISON




                                           ORDER


       The defendant, Timothy Leonard Ellison, was sentenced by this court on June 28, 2018

and is now in the custody of the Bureau of Prisons. Surety, Linda Ellison, has requested the

return ofthe $500.00 cash security posted on the defendant's $10,000.00 bond.

       IT IS HEREBY ORDERED that the cash collateral in the amount of $500.00 posted

by surety for the defendant, plus all accrued interest thereon, be retximed to Linda Ellison at 140

E. Ellison Bridge Road, Sardis, Georgia 30456.

       This^2^55ay of                      ,2018 at Augusta, Georgia.



                                                     J. RANDAL HALL,CHIEF JUDGE
                                                    UNITEDJBTATES DISTRICT COURT
                                                   "SOU™^ DISTRICT OF GEORGIA
